          4:15-bk-12466 Doc#: 102 Filed: 08/10/18 Entered: 08/10/18 23:45:22 Page 1 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Arkansas
In re:                                                                                                     Case No. 15-12466-pmj
Robert L Woods                                                                                             Chapter 13
Shirley A Woods
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0860-4                  User: lisa                         Page 1 of 1                          Date Rcvd: Aug 08, 2018
                                      Form ID: pdf09Ds                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 10, 2018.
db/jdb         +Robert L Woods,   Shirley A Woods,   P.O. Box 1743,   N. Little Rock, AR 72115-1743

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 10, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 7, 2018 at the address(es) listed below:
              Adam Perdue     on behalf of Creditor   Wells Fargo Bank, N.A. ARECF@wilson-assoc.com,
               arecf@ecf.courtdrive.com
              Angela Boyd Mathews    on behalf of Creditor    Wells Fargo Bank, N.A. ARECF@wilson-assoc.com,
               ARECF@ecf.courtdrive.com
              Clarence W Cash    on behalf of Joint Debtor Shirley A Woods cwc@cashlawfirm.net
              Clarence W Cash    on behalf of Debtor Robert L Woods cwc@cashlawfirm.net
              Jack W. Gooding    noticing@ark13.com
              Joseph F. Kolb    on behalf of Creditor    Ally Bank jkolb@jkolb.com
              Scott Allen Jones    on behalf of Creditor    Wells Fargo Bank, N.A. ARECF@wilson-assoc.com,
               arecf@ecf.courtdrive.com
              U.S. Trustee (ust)    USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                              TOTAL: 8
    4:15-bk-12466 Doc#: 102 Filed: 08/10/18 Entered: 08/10/18 23:45:22 Page 2 of 2
                       IN THE UNITED STATES BANKRUPTCY COURT
                     EASTERN AND WESTERN DISTRICTS OF ARKANSAS




IN RE: Robert L Woods and Shirley A Woods                              CASE NO:                4:15-bk-12466 J
                                                                                                   Chapter 13

                              CHAPTER 13 ORDER OF COMPENSATION
                                   FOR ADDITIONAL SERVICES


   Before the court is the Application for Compensation for Additional Services filed by the debtor's counsel ,

CLARENCE W CASH, on 07/16/2018, Docket Entry 94, for additional services and /or costs. The court finds

that the application should be, and hereby is, approved. The Trustee is directed to pay the amount of

$375.00 pursuant to 11 U.S.C. Section 1326.

   IT IS SO ORDERED.

Date: 08/07/2018                                                        /s/ Phyllis M. Jones
                                                                         Phyllis M. Jones
                                                                      U.S. Bankruptcy Judge


    Approved by:

    /s/ Jack W Gooding
    Jack W Gooding
    Standing Chapter 13 Trustee


     Comments:

     MOD FILED 7/13/2018




                                                                                   DMC      / 132 - (GO11-26b)
